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Piaintiff, t ` U.S. DlSt Cf
triad/shit
v. cr. No. 05-10031-T/An

GREGORY T. KERRENT,

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on July 1, 2005. The Assistant United States Attorney
appeared on behalf 0f the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAN|E; Dianne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, being held without bond pursuant to BRA of 1984, is remanded to the
custody of the U.S. l\/larsha|.

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S. THOl\/IAS ANDERSON
United States |Vlagistrate Judge

Charges: unlawful transport of firearms
Assistant U.S. Attorney assigned to case: Croom

Rule 32 was not waived.

Defendant's age: ¢_,Q_Cl

This document entered on the docket sheet in cor§liance
with Rule 55 and/or 32(b) FRCrl-" on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10031 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

